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                        UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF OHIO
                         WESTERN DIVISION AT DAYTON

 ANTHONY HERNANDEZ,                           :   Case No.: 3:17-cv-419
                                              :
        Plaintiff,                            :
                                              :   District Judge Walter H. Rice
 vs.                                          :   Magistrate Judge Sharon L. Ovington
 COMMISSIONER OF THE SOCIAL                   :
 SECURITY ADMINISTRATION,                     :
                                              :
        Defendants.                           :


                                         ORDER

       This matter is before the Court on Commissioner’s Motion to Reinstate the Case.

(Doc. No. 16). The Commissioner indicates that upon remand under Sentence Six of 42

U.S.C. § 405(g), the ALJ “found no change in his earlier conclusion that Plaintiff has not

been under a disability from the date of alleged onset, January 2, 2012, through the date of

the ALJ’s most recent decision, July 7, 2021.” (Doc. No. 16, PageID 637). Accordingly,

the Commissioner requests that Plaintiff’s claim be reinstated for judicial review of the

ALJ’s decision and that the Court issue a new decision on the merits of Plaintiff’s claim.

       For good cause shown, this case is hereby REINSTATED on the docket of this

Court. Defendant is ORDERED to file a supplemental certified administrative record.

Plaintiff must file his Statement of Specific Errors not later than forty-five (45) days after

service of the supplemental certified administrative record. See Local Rule 8.1.A(c). The

Commissioner shall have forty-five (45) days after service of Plaintiff’s Statement of
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Specific Errors to file its Response. Id. Plaintiff may file his Reply not later than fifteen

(15) days after service of the Commissioner’s Response. Id.

       IT IS SO ORDERED.

October 27, 2021                                s/Sharon L. Ovington
                                                Sharon L. Ovington
                                                United States Magistrate Judge
